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                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE WESTERN DISTRICT OF TEXAS

                                   MIDLAND/ODESSA DIVISION

THE UNITED STATES OF AMERICA                  ]
                                              ]               CRIMINAL NO.
VS.                                           ]               MO::24-CR-00182(1)-DC
                                              ]
ELEAZER KASSHOGGI MUJICA-ROJAS                ]

            UNOPPOSED MOTION FOR CONTINUANCE OF SENTENCING

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, ELEAZER KASSHOGGI MUJICA-ROJAS, Defendant in the above

entitled and numbered cause, by and through his attorney of record, LUIS CHAVEZ, and

would move this Court to continue the proceedings presently pending, and as grounds

therefore would respectfully show the following:

                                              I.

       The requested hearing to be continued is the Sentencing scheduled for

Wednesday, April 9, 2025 at 9:30 a.m.

                                             II.

       Counsel for Defendant respectfully requests this hearing be reset for thirty (30)

days in the interest of justice.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Unopposed

Motion for Continuance of Sentencing be granted.
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                                                Respectfully submitted,

                                                THE CHAVEZ LAW FIRM
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                                                TEL: (432)580-0303
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                                                BY:_/s/Luis Chavez___________ _
                                                      LUIS A. CHAVEZ
                                                      STATE BAR NO.: 04162710




                          CERTIFICATE OF CONFERENCE

      This is to certify that I have spoken to Richard Watts, Assistant United States

Attorney, and he does not oppose this Motion.

                                                /s/Luis A. Chavez___
                                                LUIS A. CHAVEZ



                             CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the above and foregoing

Defendant's Unopposed Motion for Continuance of Sentencing was on this the 1st day of

April, 2025, forwarded by electronic mail to the Richard Watts, Assistant United States

Attorney, 700 E San Antonio, Suite 200, El Paso, Texas 79901.

                                                /s/ Luis A. Chavez_______
                                                LUIS A. CHAVEZ
